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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
ORDER OF RESTITUTION
= Vv. -
WILLIAM WEINER, : S5 22 Cr. 19 (PGG)
Defendant. :
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Upon the application of the United States of America, by its attorney, Damian Williams,
United States Attorney for the Southern District of New York, Mathew Andrews, Qais Ghafary,
and Michael D. Lockard, Assistant United States Attorneys, of counsel; the presentence
investigation report; the defendant’s conviction on Count One of the Information; and all other
proceedings in this case, it is hereby ORDERED that:

1. Amount of Restitution

WILLIAM WEINER, the defendant, shall pay restitution in the total amount of
$76,127.00 pursuant to 18 U.S.C. §§ 3663, 3663A, and 3664 to the victims of the offense charged
in Count One. The name, address, and specific amount owed to the victims are set forth in the
Schedule of Victims, attached hereto as Schedule A. Upon advice by the United States Attorney’s
Office of a change of address of a victim, the Clerk of Court is authorized to send payments to the
new address without further order of this Court.

A. Joint and Several Liability

Restitution is not joint and several with other defendants or with others not named herein.

B. Credit for Payments

Payments made by the defendant to the Internal Revenue Service (“IRS”), a victim of the
offense charged in Count One, for tax deficiencies for tax years 2016, 2017, and 2018, that are

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accepted and applied by the IRS, shall be credited toward the restitution owed to the IRS
pursuant to this order and shall reduce the amount of outstanding restitution owed to the IRS.

2. Schedule of Payments

Pursuant to 18 U.S.C. § 3664(£)(2), in consideration of the financial resources and
other assets of the defendant, including whether any of these assets are jointly controlled;
projected earnings and other income of the defendant; and any financial obligations of the
defendant; including obligations to dependents, the defendant shall pay restitution in the
manner and according to the schedule that follows:

In the interest of justice, restitution will be payable in installments pursuant to 18 U.S.C.
§ 3572(d)(1) and (2). The defendant will commence monthly installment payments of at least
twenty percent of the defendant’s gross income, payable on the fifteenth day of each month.

This schedule is without prejudice to the Government taking enforcement

actions, pursuant to 18 U.S.C. § 3613, to the extent warranted.

3. Payment Instructions
The defendant shall make restitution payments by certified check, money order, or
online. Instructions for online criminal debt payments are available on the Clerk of Court’s

website at https://nysd.uscourts.gov/payment-information#PaymentofCriminalDebt. Checks

and money orders shall be made payable to the “SDNY Clerk of Court” and mailed or
delivered to: United States Courthouse, 500 Pearl Street, New York, New York 10007 -
Attention: Cashier, as required by 18 U.S.C. § 3611. The defendant shall write his/her name

and the docket number of this case on each check or money order.
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4. Change in Circumstances

The defendant shall notify, within 30 days, the Clerk of Court, the United States Probation
Office (during any period of probation or supervised release), and the United States Attorney’s
Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation
Program) of (1) any change of the defendant’s name, residence, or mailing address or (2) any
material change in the defendant’s financial resources that affects the defendant’s ability to pay

restitution in accordance with 18 U.S.C. § 3664(k).

5, Term of Liability

The defendant’s liability to pay restitution shall terminate on the date that is the later of 20
years from the entry of judgment or 20 years after the defendant’s release from imprisonment, as
provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the
event of the death of the defendant, the defendant’s estate will be held responsible for any unpaid
balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.

6. Sealing

Consistent with 18 U.S.C. §§3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal
Procedure 49.1, to protect the privacy interests of victim(s), the Schedule of Victims, attached
hereto as Schedule A, shall be filed under seal, except that copies may be retained and used by or
disclosed to the listed victims, the Government, the investigating agency, the Clerk’s Office, and

the Probation Office, as needed to effect and enforce this Order, without further order of this Court.

SO ORDERED.

HONORABLE PAUL G. GARDEPHE DATE
UNITED STATES DISTRICT JUDGE
